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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

 KARENZA JAMES,                             )       Case No. _________________
                                            )
      Plaintiff,                            )       PLAINTIFF’S
                                            )       COMPLAINT
 v.                                         )       FOR INJUNCTIVE
                                            )       RELIEF, DAMAGES, AND
 REFOCUS BEHAVIOR, LLC,                     )       JURY TRIAL FOR
                                            )       VIOLATIONS OF THE
      Defendant.                            )       UNIFORMED SERVICES
                                            )       EMPLOYMENT AND
                                            )       REEMPLOYMENT
                                            )       RIGHTS ACT (“USERRA”)
                                            )
                                            )       EXEMPT FROM FILING
                                            )       FEES UNDER 38 U.S.C. §
                                            )       4323(h)(1)

                      PLAINTIFF’S ORIGINAL COMPLAINT

        Now comes Plaintiff Karenza James, by and through counsel, and for her

Complaint against Defendant Refocus Behavior, LLC (hereinafter “Defendant”)

states and alleges as follows:

                         PRELIMINARY STATEMENT

          1. This civil action is brought pursuant to the Uniformed Services

Employment and Reemployment Rights Act of 1994 (USERRA), 38 U.S.C.

§ 4301, et seq., and is exempt from filing fees under 38 U.S.C. § 4323(h)(1).

          2. Plaintiff asserts that the Defendant has violated USERRA, by failing to

properly reemploy her following a period of service in the uniformed services as

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required by 38 U.S.C. § 4312(a) and by discriminating against her on the basis of

her military service and retaliating against her for engaging in protected activity.

        3. Pursuant to USERRA, 38 U.S.C. § 4311(a), “[a] person who is a

member of, … performs, has performed … service in a uniformed service shall

not be denied initial employment, reemployment, retention in employment,

promotion, or any benefit of employment by an employer on the basis of that

membership, … performance of service … or obligation.”

                                  THE PARTIES

        4. At all times relevant, Plaintiff James was a citizen of the United States

and a resident of Liberty County, Georgia.

        5. At all times relevant herein, Plaintiff was an employee within the

meaning of USERRA.

        6. Defendant Refocus Behavior, LLC is a domestic limited liability

company licensed to do business in Georgia and may be served by delivering a

copy of this Complaint to Defendant’s Registered Agent for Service of Process

Jamie Redding, 740 E General Stewart Way, 103, Hinesville, GA.

        7. At all times relevant herein, Defendant was a private employer

operating within the State of Georgia for the purposes of 38 U.S.C. § 4303(4).

        8. Defendant is subject to USERRA.




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                           JURISDICTION AND VENUE

            9. The Federal Court for the Southern District of Georgia has personal

jurisdiction over the parties because they have sufficient contacts with this

District.

            10. This Court has subject matter jurisdiction under 28 U.S.C. § 1331

because the claims in this complaint arise out of USERRA, which confers subject

matter jurisdiction on this Court pursuant to 38 U.S.C. § 4323(b)(3).

            11. Venue is proper in the Federal Court for the Southern District of

Georgia, Division of Savanah, under 38 U.S.C. § 4323(c) and 28 U.S.C. § 1391(b)

because the acts and omissions in this complaint occurred in this District.

            12. All statutory conditions precedent to the institution of this lawsuit

have been fulfilled in accordance with 38 U.S.C. § 4323(a).

                                        FACTS

            13. Plaintiff was employed by Defendant in the position of E-Learning

Facilitator from August 31, 2020 until she was terminated on October 9, 2020,

immediately following the performance of USERRA protected service on October

7, 2020 and October 8, 2020.

            14. Plaintiff was a member of the Georgia Army National Guard with

honorable service. Plaintiff served with distinction and honor as a 92Y, Unit

Supply Specialist with the rank of E-4, Specialist for the Georgia Army National

Guard for almost five (5) years at the time of termination and received both

exceptional performance reviews as well as numerous awards, including the Army

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Reserve Components Achievement Medal; the Georgia State Active-Duty Ribbon;

and the Georgia Commendation Medal from the Governor.

        15. Plaintiff engaged in protected activity by exercising rights provided by

USERRA. While duty periods for members of the National Guard have

traditionally been held on weekends, legal protection under USERRA is not

limited to weekends. A drill period can be conducted on any day of the week, and

Plaintiff had the right to be absent from her civilian job with Defendant.

        16. Plaintiff gave Defendant notice of pending service on or before

October 6, 2020 that Plaintiff would be on orders on Wednesday October 7, 2020

and Thursday October 8, 2020.

        17. Plaintiff provided Defendant satisfactory documentation upon her

return. However, Plaintiff was terminated the following day when she returned

from the protected leave on Friday October 9, 2020.

        18.Defendant terminated Plaintiff because of her service in the uniformed

services. “Service in the Uniformed Services” means the performance of duty on a

voluntary or involuntary basis in a uniformed service. 38 U.S.C. § 4303(13).

        19. Employment discrimination because of past, current, or future military

obligations is prohibited. Section 4311(a).

        20. Plaintiff is protected from discrimination and retaliation because of

her military service or obligation.

        21. Plaintiff was earning approximately $576.50 weekly.



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        22. Defendant states in the Separation Notice that Plaintiff was terminated

for “poor attendance – missed 10 of 29 workdays, and poor job performance”.

        23. Any and all of Plaintiff’s absences were either approved by Defendant

or protected under the law.

        24. Plaintiff’s past, present, or future connection with the service was a

motivating factor in Defendant’s decision to terminate Plaintiff.

        25. Plaintiff’s job performance was excellent.

        26. At all times relevant hereto, Defendant had a duty to conduct itself in

compliance with the law, including USERRA and ensure its managers and agents

followed the Act.

        27. The above-referenced actions by Defendant, and its agents, breached

those duties.

        28. Plaintiff suffered economic injury, as well as other harms and losses

as a result of Defendant’s actions, which are the direct and proximate cause of

Plaintiff’s damages.

        29. As a result of Defendant’s unlawful conduct in violation of USERRA,

Plaintiff has suffered a loss of earnings and other benefits of employment in an

amount to be proved at trial.

        30. Defendant’s failure to follow USERRA was willful and in reckless

disregard for the law and in violation of USERRA. 38 U.S.C. § 4323(d)(1)(C).




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                              CAUSES OF ACTION

        31. Defendant violated Plaintiff’s rights as guaranteed by USERRA,

including, but not limited to: (1) failing to retain her employment following a

period of service in the uniformed services; (2) by unlawfully discriminating

against her because of her service and retaliating against her for engaging in

protected activity; and (3) doing the above willfully and in violation of USERRA.

        32. Plaintiff was injured by Defendant’s actions.

                    COUNT I - Violation of 38 U.S.C. § 4312

        33. Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

        34. Pursuant to USERRA, 38 U.S.C. § 4311(a), “[a] person who is a

member of, … performs, has performed … service in a uniformed service shall

not be denied…retention in employment…by an employer on the basis of that

membership, … performance of service … or obligation.”

        35. Defendant has violated USERRA, by failing to properly retain her

employment following a period of service in the uniformed services.

        36. Plaintiff’s past, present, or future connection with the service was a

motivating factor in Defendant’s decision to terminate Plaintiff.




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                   COUNT II - Violation of 38 U.S.C. § 4311

        37. Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

        38. Defendant unlawfully discriminated against Plaintiff by, among other

things, denying Plaintiff employment and benefits of employment on the basis of

her membership, service, or obligation to perform service in the uniformed service.

        39. Defendant unlawfully retaliated against Plaintiff by, among other

things, denying Plaintiff employment and benefits of employment on the basis of

her exercising her right to leave provided for in USERRA.

               COUNT III - willful violations – 38 U.S.C. § 4323

        40.Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

        41. Plaintiff is entitled to liquidated damages under USERRA because

Defendant’s conduct was willful as defined by 38 U.S.C. § 4323(d), 20 C.F.R. §

1002.312(c), where Defendant knew, or showed reckless disregard for whether its

conduct was prohibited under USERRA.

                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully demands a jury trial and further to

be awarded compensation for all injury and damage suffered. To wit:

        A. Enter judgment awarding Plaintiff for both economic and non-

economic damages; all back pay, front pay, lost benefits of employment, and

negative tax consequences of any award; an equal amount of liquidated damages;


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pre-judgment interest; and costs, expert witness fees, and reasonable attorneys’

fees, and all other remedies allowed under the USERRA; and

        B. Award Plaintiff such further and additional relief as may be just and

appropriate.

               Respectfully submitted the 9th day of July, 2021.


                                        CHARLES HERMAN LAW

                                        /s/ Charles Herman
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